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                      10       Receivable Fund, LP

                      11                         IN THE UNITED STATES BANKRUPTCY COURT
                                                       FOR THE DISTRICT OF NEVADA
                      12
                               In re:                                         Case No. 21-14486-abl
                      13
                               INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      14
                                                Debtor.
                      15
                               HASELECT-MEDICAL RECEIVABLES                   Adversary Case No. 21-01167-abl
                      16       LITIGATION FINANCE FUND
                               INTERNATIONAL SP,
                      17
                                                Plaintiff,                    TECUMSEH-INFINITY MEDICAL
                      18                                                      RECEIVABLES FUND, LP’S ANSWER
                               v.                                             AND AFFIRMATIVE DEFENSES TO
                      19                                                      TRUSTEE’S COUNTERCLAIM
                               TECUMSEH-INFINITY MEDICAL
                      20       RECEIVABLES FUND, LP,
                      21                        Defendant/Counterclaim
                                                Plaintiff,
                      22
                               v.
                      23
                               HASELECT-MEDICAL RECEIVABLES
                      24
                               LITIGATION FINANCE FUND
                      25       INTERNATIONAL SP, and ROBERT E.
                               ATKINSON, CHAPTER 7 TRUSTEE,
                      26
                                                Counterclaim Defendants.
                      27

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                        1      ROBERT E ATKINSON, CHAPTER 7
                               TRUSTEE,
                        2
                                                 Counter Plaintiff,
                        3
                               v.
                        4
                               TECUMSEH-INFINITY MEDICAL
                        5      RECEIVABLES FUND, LP,
                        6                        Counter Defendant.
                        7

                        8              Defendant Tecumseh–Infinity Medical Receivables Fund LP (“Tecumseh” or “Counter

                        9     Defendant”) submits its Answer and Affirmative Defenses to Counterclaim Plaintiff Robert E.

                      10      Atkinson, Chapter 7 Trustee’s (“Trustee” or “Counter Plaintiff”) Counterclaim against Tecumseh-

                      11      Infinity Medical Receivables Fund, LP (the “Counterclaim”) (ECF No. 32).

                      12                                                 ANSWER

                      13               1.    Paragraph 1 of the Counterclaim is a legal conclusion that does not require a

                      14      response. To the extent a response is required, the allegations in paragraph 1 of the Counterclaim

                      15      are denied.

                      16               2.    Paragraph 2 of the Counterclaim is a legal conclusion that does not require a

                      17      response. To the extent a response is required, the allegations in paragraph 2 of the Counterclaim

                      18      are denied.

                      19               3.    Paragraph 3 of the Counterclaim is a legal conclusion that does not require a

                      20      response. To the extent a response is required, the allegations in paragraph 3 of the Counterclaim

                      21      are denied.

                      22               4.    Paragraph 4 of the Counterclaim is a legal conclusion that does not require a

                      23      response. To the extent a response is required, the allegations in paragraph 4 of the Counterclaim

                      24      are denied.

                      25               5.    Tecumseh admits the allegations contained in paragraph 5 of the Counterclaim.

                      26               6.    Tecumseh admits the allegations contained in paragraph 6 of the Counterclaim.

                      27               7.    Tecumseh admits the allegations contained in paragraph 7 of the Counterclaim.

                      28               8.    Tecumseh admits the allegations contained in paragraph 8 of the Counterclaim.
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                        1              9.     Tecumseh denies the allegations contained in paragraph 9 of the Counterclaim.

                        2              10.    Tecumseh denies the allegations contained in paragraph 10 of the Counterclaim.

                        3              11.    Paragraph 11 of the Counterclaim is a legal conclusion that does not require a

                        4     response. To the extent a response is required, the allegations in paragraph 11 of the Counterclaim

                        5     are denied.

                        6              12.    The documents are not attached to the Counterclaim and otherwise speak for

                        7     themselves. Tecumseh denies any remaining allegations set forth in paragraph 12 of the

                        8     Counterclaim.

                        9              13.    The documents are not attached to the Counterclaim and otherwise speak for

                      10      themselves. Tecumseh denies any remaining allegations set forth in paragraph 13 of the

                      11      Counterclaim.

                      12               14.    The documents are not attached to the Counterclaim and otherwise speak for

                      13      themselves. Tecumseh denies any remaining allegations set forth in paragraph 14 of the

                      14      Counterclaim.

                      15               15.    The Sub-Advisory Agreement speaks for itself. Tecumseh denies any remaining

                      16      allegations set forth in paragraph 14 of the Counterclaim.

                      17               16.    The documents are not attached to the Counterclaim and otherwise speak for

                      18      themselves. Tecumseh denies any remaining allegations set forth in paragraph 16 of the

                      19      Counterclaim.

                      20               17.    The documents are not attached to the Counterclaim and otherwise speak for

                      21      themselves. Tecumseh denies any remaining allegations set forth in paragraph 17 of the

                      22      Counterclaim.

                      23               18.    Tecumseh denies that the Debtor has the right to receive payment on any of the

                      24      Tecumseh Receivables.1 Tecumseh denies all remaining allegations set forth in paragraph 18 of

                      25      the Counterclaim.

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                              1
                               Capitalized terms not otherwise defined herein will take on the meaning ascribed to them in
                      28      Tecumseh’s Counterclaim (ECF No. 26).
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                        1                                       FIRST CAUSE OF ACTION

                        2              19.   The responses set forth above are realleged and reaverred as if fully set forth herein.

                        3              20.   Paragraph 20 of the Counterclaim is a legal conclusion that does not require a

                        4     response. To the extent a response is required, the allegations in paragraph 20 of the Counterclaim

                        5     are denied.

                        6              21.   Paragraph 21 of the Counterclaim is a legal conclusion that does not require a

                        7     response. To the extent a response is required, the allegations in paragraph 21 of the Counterclaim

                        8     are denied.

                        9              22.   Paragraph 22 of the Counterclaim is a legal conclusion that does not require a

                      10      response. To the extent a response is required, the allegations in paragraph 22 of the Counterclaim

                      11      are denied.

                      12               23.   Paragraph 23 of the Counterclaim is a legal conclusion that does not require a

                      13      response. To the extent a response is required, the allegations in paragraph 23 of the Counterclaim

                      14      are denied.

                      15               24.   Paragraph 24 of the Counterclaim is a legal conclusion that does not require a

                      16      response. To the extent a response is required, the allegations in paragraph 24 of the Counterclaim

                      17      are denied.

                      18               25.   Paragraph 4 of the Counterclaim is a legal conclusion that does not require a

                      19      response. To the extent a response is required, the allegations in paragraph 4 of the Counterclaim

                      20      are denied.

                      21               26.   Tecumseh denies the allegations contained in paragraph 26 of the Counterclaim.

                      22               27.   Paragraph 27 of the Counterclaim is a legal conclusion that does not require a

                      23      response. To the extent a response is required, the allegations in paragraph 27 of the Counterclaim

                      24      are denied.

                      25               28.   Paragraph 28 of the Counterclaim is a legal conclusion that does not require a

                      26      response. To the extent a response is required, the allegations in paragraph 28 of the Counterclaim

                      27      are denied.

                      28               29.   Paragraph 29 of the Counterclaim is a legal conclusion that does not require a
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                        1     response. To the extent a response is required, the allegations in paragraph 29 of the Counterclaim

                        2     are denied.

                        3              30.    Paragraph 30 of the Counterclaim is a legal conclusion that does not require a

                        4     response. To the extent a response is required, the allegations in paragraph 30 of the Counterclaim

                        5     are denied.

                        6              31.    Paragraph 31 of the Counterclaim is a legal conclusion that does not require a

                        7     response. To the extent a response is required, the allegations in paragraph 31 of the Counterclaim

                        8     are denied.

                        9              32.    Tecumseh denies that Trustee is entitled to any relief relating to the disputed

                      10      receivables at issue, and expressly denies each and every assertion in the ‘wherefore’ clause found

                      11      below Paragraph 32 of the Trustee’s Counterclaim.

                      12               33.    Each and every allegation not specifically admitted herein is hereby denied.

                      13                                        AFFIRMATIVE DEFENSES

                      14                                    FIRST AFFIRMATIVE DEFENSE
                      15               The Court lacks subject matter jurisdiction over Tecumseh Receivables which are not
                      16      property of the chapter 7 bankruptcy estate.
                      17                                   SECOND AFFIRMATIVE DEFENSE
                      18               The Tecumseh Receivables are not property of the Debtor’s estate and therefore are not
                      19      subject to the Trustee’s strong-arm powers under 11 U.S.C. § 544(a).
                      20                                    THIRD AFFIRMATIVE DEFENSE

                      21               The Debtor possesses nothing more than bare legal title of Tecumseh Receivables as a

                      22      purchase money resulting trust existed by operation of law pre-petition under South Carolina, by

                      23      which Tecumseh Receivables were held in trust by Debtor for the benefit of Tecumseh, as provider

                      24      of the purchase monies. The strong arm power of 11 U.S.C. § 544 “could not make the corpus of

                      25      a valid resulting trust property of the bankruptcy debtor.” In re Torrez, 63 B.R. 751, 755 (B.A.P.

                      26      9th Cir. 1986), aff’d, 827 F.2d 1299 (9th Cir. 1987) (“[u]nder California law a resulting trust is

                      27      implied by operation of law whenever a party pays the purchase price for a parcel of land and

                      28      places the title to that land in the name of another”); see also Cage v. Kang (In re Kang), 2013
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                        1     Bankr. LEXIS 844 (Bankr. S.D. Tex. Mar. 7, 2013) (resulting trust under Texas law prevails over

                        2     section 544(a)(3)).

                        3                                  FOURTH AFFIRMATIVE DEFENSE

                        4              Tecumseh was properly perfected prior to the Debtor’s bankruptcy, and as such its interest

                        5     in the Tecumseh Receivables may not be attacked under § 544(a).

                        6     Dated: January 28, 2022                       Respectfully submitted,

                        7                                                   GARMAN TURNER GORDON LLP

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                      24      4872-1853-1339, v. 1


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